      Case 1:18-cv-02442-JPC-SLC Document 216
                                          219 Filed 10/06/22
                                                    10/07/22 Page 1 of 2




Ronald D. Coleman
DHILLON LAW GROUP, INC.
50 Park Place, Suite 1105
Newark, NJ 07102
973-298-1723
rcoleman@dhillonlaw.com
Attorneys for Defendant / Counterclaim Plaintiff
Economic Alchemy LLC

 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


   NOW-CASTING ECONOMICS, LTD.,                              No. 18-cv-02442 (ER)
                                      Plaintiff,
                                                        DEFENDANT / COUNTERCLAIM
                     -v.-
                                                       PLAINTIFF’S NOTICE OF MOTION
   ECONOMIC ALCHEMY LLC,                                     FOR REARGUMENT
                                                           OR RECONSIDERATION
                                      Defendant.



          PLEASE TAKE NOTICE that defendant / counterclaim plaintiff Economic Alchemy

LLC (“Economic Alchemy”) hereby moves, pursuant to for an Order pursuant to Rule 54(b) of

the Federal Rules of Civil Procedure and Local Civil Rule 6.3 before the Hon. John P. Cronan,

U.S.D.J., United States District Court, Southern District of New York, for reconsideration of the

Court’s order dated September 15, 2022 granting summary judgment and a declaratory judgment

of non-infringement to plaintiff and for such other and further relief as the Court deems just and

proper.


          PLEASE TAKE FURTHER NOTICE that Economic Alchemy’s motion is based on

the accompanying Memorandum of Law, and all other papers filed on or before a ruling on this

motion.


                                                   1
    Case 1:18-cv-02442-JPC-SLC Document 219
                                        216 Filed 10/07/22
                                                  10/06/22 Page 2 of 2




                                  DHILLON LAW GROUP, INC.


                                  By: ___________________________________
                                            Ronald D. Coleman

                                  50 Park Place, Suite 1105
                                  Newark, NJ 07102
                                  973-298-1723
                                  rcoleman@dhillonlaw.com
                                  Attorneys for Defendant / Counterclaim Plaintiff
                                  Economic Alchemy LLC
Dated: October 6, 2022



                                 Plaintiff Now-Casting Economics, Ltd. is directed to
                                 submit its response to this motion, if any, by October 21,
                                 2022. Defendant may submit a reply by October 28, 2022
                                 if Plaintiff so responds.


                                 SO ORDERED.                _________________________
                                 Date: October 7, 2 22      JOHN P. CRONAN
                                 New York, New York         United States District Judge




                                     2
